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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                            CRIMINAL ACTION

VERSUS                                              NO: 07-105

CHARLES EUGENE PREWITT                              SECTION: R(3)




                              ORDER AND REASONS

        Before the Court is petitioner Charles Eugene Prewitt’s

motion to vacate, set aside, or correct his sentence under 28

U.S.C. § 2255.       (R. Doc. 253.)    For the following reasons, the

Court DENIES Prewitt’s motion.



I.      BACKGROUND

        On March 16, 2007, a federal grand jury issued an indictment

charging Prewitt with one count of participating in a conspiracy

to distribute and possess, with the intent to distribute, five or

more kilograms of cocaine hydrochloride in violation of 21 U.S.C.

§§ 846, 841(a)(1), and 841(b)(1)(A)(ii) (Count 1).                (R. Doc. 37.)

The indictment also charged Prewitt with using a cellular

telephone to commit the above acts in violation of 21 U.S.C. §

843 (Count 7).       Id.   On October 10, 2007, the Government also

filed a bill of information alleging that Prewitt had committed

the above crimes after having previously been convicted of a

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felony drug offense under 21 U.S.C. § 851.        (R. Doc. 78.)       That

same day, during an in-court proceeding (the re-arraignment

proceeding), Prewitt pleaded guilty to both Count 1 of the

indictment and the bill of information.       (R. Doc. 75.)       Because

of Prewitt’s past felony drug conviction, Prewitt was subject to

a maximum penalty of life imprisonment with a term of supervised

release for a minimum of ten years, a maximum fine of $8,000,000

or the greater of twice the gross gain to the defendant or twice

the gross loss to any person under 18 U.S.C. § 3571, and a

minimum term of imprisonment of 20 years.        (R. Doc. 80.)

     Prewitt also entered a plea agreement with the Government

under Federal Rule of Criminal Procedure 11.         (R. Doc. 80.)      In

Prewitt’s plea agreement, the Government agreed to (1) dismiss

Count 7 of the Indictment; (2) not charge Prewitt with any other

violations of the federal controlled substances act that he may

have committed before February 19, 2007; (3) stipulate that

Prewitt timely accepted responsibility for his offense under

Section 3E1.1 of the sentencing guidelines and was therefore

entitled to a three point reduction in offense level; and (4)

inform the Court of any cooperation Prewitt rendered prior to his

sentencing.   (R. Doc. 80.)    In exchange, and in addition to his

guilty plea, Prewitt waived his right to contest his sentence in

any post-conviction proceeding, including a proceeding under 28

U.S.C. § 2255, unless the sentence imposed was in excess of the


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statutory maximum.     Id.     Prewitt’s plea agreement states:

     Except as otherwise provided in this paragraph, the
     defendant hereby expressly waives his right to appeal
     from his conviction and/or his sentence, including but
     not limited to any appeal rights conferred by Title 28,
     United States Code, Section 1291 and by Title 18, United
     States Code, Section 3742. The defendant also waives his
     right to contest his conviction and/or his sentence in
     any collateral proceeding, including proceedings brought
     under Title 28, United States Code, Section 2241 and
     Title 28, United States Code, Section 2255, on any
     ground, except that the defendant may bring a post-
     conviction claim if the defendant establishes that
     ineffective assistance of counsel directly affected the
     validity of this waiver of appeal and collateral
     challenge rights or the validity of the guilty plea
     itself. The defendant further waives any rights that he
     may have under the Freedom of Information Act as it
     relates to those activities set forth in the Indictment.
     Subject to the foregoing, the defendant reserves the
     right to bring a direct appeal only of any sentence
     imposed in excess of the statutory maximum.

(R. Doc. 80.)   Since the statutory maximum was life, Prewitt

waived his right to a direct appeal of his sentence.

     Prewitt also signed a factual basis in which he admitted to

the facts underlying his guilty plea.           (R. Doc. 76.)     In the

factual basis, Prewitt admitted that he participated in a drug

organization that conspired to obtain and distribute between 15

kilograms and 50 kilograms of cocaine and approximately 1000

pounds of marijuana.       Id.   Prewitt further admitted to using

various telephone facilities to coordinate his illegal drug

activities with his co-conspirators and that the Government could

prove such through recordings obtained under court-authorized

wire intercepts.     Id.     Prewitt admitted that he and his co-


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conspirators traveled to Houston, Texas on Febraury 18, 2007 to

purchase 3 kilograms of cocaine and 100 pounds of marijuana and

that upon their return to St. Tammany Parish, Louisiana, special

agents of the FBI arrested them.        Id.   And lastly, Prewitt

admitted that the Government could prove that he distributed or

possessed, with the intent to distribute, 5 kilograms of cocaine

and 400 pounds of marijuana.      Id.

       The Court conducted Prewitt’s rearrangement proceeding in

tandem with the rearrangement of one of Prewitt’s co-defendants.

(R. Doc. 75.)   During the proceeding, the Court explained to

Prewitt the elements of his offense and the mandatory minimum and

maximum sentences that the Court could impose.           (Rearr. Tr., 5-

7.)    It confirmed that Prewitt’s attorney explained the mandatory

minimum sentence to Prewitt and also that Prewitt understood the

effect of admitting to a prior felony conviction.               At that time,

Prewitt said he understood what the government would have to

prove to convict him.    (Rearr. Tr., at 10.)        The Court also asked

Prewitt whether he was sure he wanted to plead guilty, and he

replied that he was pleading guilty because he was, in fact,

guilty of the crimes for which he was charged.           (Rearr. Tr., at

11.)   The Court further advised Prewitt that it would not accept

his guilty plea unless he was entering the plea knowingly and

voluntarily.

       THE COURT: Are you pleading guilty because you are, in
       fact, guilty?

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     DEFENDANT PREWITT: Yes, Your Honor.

     THE COURT: Are you pleading guilty voluntarily and of
     your own free will?

     DEFENDANT PREWITT: Yes, Your Honor.

(Rearr. Tr., at 20-21.)        After the Government informed the Court

of its understanding of the two defendants’ plea agreements, the

Court questioned Prewitt’s co-defendant about the waiver of his

appeal rights.

     THE COURT: Do you understand that, in your plea agreement
     with the government, you have expressly agreed to waive
     your right to appeal your conviction or your sentence and
     your right to challenge either of them in any
     postconviction proceeding, except that you reserve the
     right to bring a postconviction claim for ineffective
     assistance of counsel that goes directly to the validity
     of these waivers or to the validity of your guilty plea
     and you have reserved the right to appeal any sentence
     that’s above the statutory maximum? Do you understand
     that is the nature of your waiver of your appeal rights?

     DEFENDANT HART: Yes, your honor.

     THE COURT: Since the statutory maximum is life, there’s
     no appeal right there since I can’t go over that. Do you
     understand that?

     DEFENDANT HART: Yes, your honor.

(Rearr. Tr., 15.)    Though the Court did not question Prewitt

directly, Prewitt stood next to his co-defendant during the

proceeding when the Court reviewed the import of the waiver.

Counsel for the Government confirmed that Prewitt’s plea

agreement contained the same waiver of appeal and summarized that

waiver as allowing appeal if the Court imposed a sentence in

excess of the statutory maximum.          Because the statutory maximum

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was life imprisonment, the Government stated that no right to

direct appeal remained.        (Rear. Tr., 13.)    Prewitt’s lawyer

confirmed that he had the same understanding of Prewitt’s plea

agreement as the Government.        Prewitt indicated to the Court that

he read and understood the terms of his plea agreement and had

gone over the agreement with his lawyer.          He confirmed he had the

same understanding as the Government lawyer and his own attorney.

     THE COURT: Has each of you read the plea agreement?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Do you understand the terms and conditions of
     the agreement?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Have you gone over the agreement with your
     lawyer?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Have you signed the agreement?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Are there any agreements between you and the
     government concerning your plea other than what’s in the
     plea agreement?

     DEFENDANT PREWITT: No, your honor.

     . . .

     THE COURT: Mr. Prewitt, do you understand what the United
     States attorney and your attorney have just outlined for
     me?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Is your understanding of the plea agreement
     the same?

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     DEFENDANT PREWITT: Yes, your Honor.


(Rearr. Tr., at 12, 16.)       Prewitt also testified that he was

satisfied with the advice and services of his lawyer.              (Rearr.

Tr., at 18.)   Prewitt stated:

     THE COURT: Have you had sufficient time to discuss your
     case with your lawyer?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Are you entirely satisfied with the advice
     and services your lawyer has given you?

     DEFENDANT PREWITT: Yes, your honor.

(Rearr. Tr., at 18.)

     On July 23, 2008, the Court conducted a sentencing

hearing in this matter.        (R. Doc. 162.)   At that time,

Prewitt and the Government were both provided opportunity to

present arguments concerning an appropriate sentence.

(Sent. Tr., at 2.)    At sentencing, the Court consulted the

advisory guideline range for Prewitt’s offense and assigned

a total offense level of 29, with a criminal history

category of 3.   (Sent. Tr., at 3.)       This resulted in an

advisory guidelines range of 108 to 135 months imprisonment.

However, as the Court had emphasized in the rearrangement

proceeding, Prewitt was subject to a statutory required

minimum sentence, which restricted his guideline range to

240 months imprisonment.        Id.

     At the time of sentencing, the Government moved the

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Court for a departure in Prewitt’s sentence under 18 U.S.C.

§ 3553(e) and Section 5K1.1 of the sentencing guidelines.

The Government argued that Prewitt had rendered substantial

assistance to the Government by testifying at a preliminary

court-marshall proceeding, providing timely information

regarding his co-conspirators, and deciphering telephone

calls that led to the indictment of ten other individuals.

     The Court, after considering the advisory guideline

range, the government’s motion for a sentencing departure,

and all of the factors set forth in 18 U.S.C. § 3553(a),

entered a judgment against Prewitt and sentenced him to a

term of 156 months in prison, well below the mandatory

minimum sentence.    (Sent. Tr., at 7.)       The Court also

reiterated to Prewitt the consequences of his appeal waiver,

including that Prewitt had no right to challenge his

sentence on any grounds other than ineffective assistance of

counsel because his sentence was below the statutory

maximum. (Sent. Tr., at 8, 9.)

     On July 21, 2009, Prewitt filed this motion to vacate,

set aside, or correct his sentence under 28 U.S.C. § 2255.

(R. Doc. 253.)   Specifically, Prewitt alleges that his

counsel, the federal public defender who was appointed to

his case, provided ineffective assistance in two ways:

first, by failing to explain to him his appeal rights; and


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second, by failing to explain to Prewitt the nature of the

charges against him and the consequences of his guilty plea.

Id.     In addition, Prewitt argues that his 156 month sentence

is not reasonable in light of all the factors set forth in

18 U.S.C. § 3553(a).       (R. Doc. 253).



II.     DISCUSSION

A.      TIMELINESS

        Section 2255 provides as follows:

        A 1-year period of limitation shall apply to a motion
        under this section. The limitation period shall run from
        the latest of-
        (1) the date on which the judgment of conviction becomes
        final;
        (2) the date on which the impediment to making a motion
        created by governmental action in violation of the
        Constitution or laws of the United States is removed, if
        the movant was prevented from making a motion by such
        governmental action;
        (3) the date on which the right asserted was initially
        recognized by the Supreme Court, if that right has been
        newly recognized by the Supreme Court and made
        retroactively applicable to cases on collateral review;
        or
        (4) the date on which the facts supporting the claim or
        claims presented could have been discovered through the
        exercise of due diligence.

28 U.S.C. § 2255.       This Court received Prewitt’s motion for

relief on July 21, 2009, which was within one year after

Prewitt’s conviction became final.         Prewitt therefore timely

filed his § 2255 motion.

B.      WAIVER OF APPEAL



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     Prewitt argues that his lawyer did not advise him that he

could appeal.   (R. Doc. 253.)     This argument is rebutted by his

plea agreement, which Prewitt admitted he understood and reviewed

with his lawyer, and in which Prewitt expressly agreed to waive

the appeal and collateral challenge rights conveyed by Title 28,

United States Code, Sections 1291, 2241, and 2255, and by Title

18, United States Code, Section 3742.         (R. Doc. 80.)

     Further, the Court finds Prewitt’s waiver provision was

knowingly and voluntarily entered.       A defendant may waive his

statutory right to appeal as part of a plea bargain agreement.

See United States v. Henderson, 72 F.3d 463, 465 (5th Cir. 1995).

A knowing and voluntary waiver of the right to bring a

post-conviction proceeding bars a petitioner from receiving

post-conviction relief.       See United States v. Wilkes, 20 F.3d

651, 655 (5th Cir. 1994).       Moreover, under Fifth Circuit

precedent, “when the record of the [rearraignment] hearing

clearly indicates that a defendant has read and understands his

plea agreement, and that he raised no question regarding a

waiver-of-appeal provision, the defendant will be held to the

bargain to which he agreed, regardless of whether the court

specifically admonished him concerning the waiver of appeal.”

United States v. Portillo, 18 F.3d 290, 292 (5th Cir. 1994); see

also United States v. Arenas-Guitierrez, 7 F.3d 1143 (5th Cir.

1996).


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      There is no indication that Prewitt’s waiver of appeal was

unknowing and involuntary.     First, Prewitt’s plea agreement

informed him of his right to appeal and that by entering into the

plea agreement, Prewitt would forfeit that right.             (R. Doc. 80.)

Second, nowhere in the record is there any indication that

Prewitt did not understand the plea agreement or was confused by

the appeal waiver provision.     See United States v. Baty, 980 F.2d

977, 978-79 (5th Cir. 1992)(confusion regarding the waiver

provision).   The Court went over the waiver provision at

Prewitt’s rearrangement proceeding, the Government specifically

stated that Prewitt had waived his appeal rights and Prewitt

confirmed that his understanding of the plea agreement was the

same as the Government’s.     Further, the Court asked Prewitt

directly if he had read and understood his plea agreement.

(Rearr. Tr., at 12.)    Prewitt responded that he did, and he did

not raise any questions regarding the waiver-of-appeal provision.

Id.   Nor did he do so at his sentencing proceeding some nine

months later.   (Sent. Tr.)    Rather, Prewitt confirmed that the

entire plea agreement had been read to him before signing it,

that he discussed the plea agreement with his lawyer, that he

understood it, that all of the terms of the agreement were

contained in the document, and that he was voluntarily and freely

entering into the agreement.     (Rearr. Tr., at 15-17.)         Moreover,

the Court reviewed the effects of the identical waiver of appeal


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at his re-arraignment proceeding with his co-defendant.                Id.;

compare with Portillo, 18 F.3d at 292 (no Court investigation

into defendant’s understanding of his waiver of appeal); see also

United States v. De Cay, No 05-186, 2009 WL 98209 at *6 (E.D.La.

Apr. 9, 2009)(Barbier, J.) (statements in open court “belied

defendant’s claims that he did not subjectively understand the

extent and nature of his waiver of appeal”).

C.   INEFFECTIVE ASSISTANCE OF COUNSEL

     In a Section 2255 petition alleging ineffective assistance

of counsel, the petitioner bears the burden of proof.              See

Gochicoa v. Johnson, 238 F.3d 278, 285 (5th Cir. 2000).             To

establish a claim of constitutionally ineffective assistance of

counsel, a petitioner must show both (1) that his counsel’s

performance fell below an objective standard of reasonableness

and (2) that but for counsel’s deficient performance, the likely

outcome of the proceeding would have been different.           See

Strickland v. Washington, 466 U.S. 668, 687-96 (1984).             A

petitioner must meet both prongs of the Strickland test to

succeed.   See id. at 687.    On the first prong, the Court applies

a highly deferential standard to the examination of counsel’s

performance.   See id.   On the second, or prejudice prong, a

petitioner must show that “there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.”       Id. at 694.      “A


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reasonable probability is a probability sufficient to undermine

confidence in the outcome.”      Id.     If a petitioner fails to

establish either deficient performance, or actual prejudice, the

Court may dispose of the claim without addressing the other

prong.    See id. at 697.

     In Hill v. Lockhart, 474 U.S. 52 (1985), the Supreme Court

applied the Strickland test to cases involving guilty pleas.              In

the context of a guilty plea, a petitioner must prove not only

that his attorney actually erred, but also that he would not have

pleaded guilty but for the error.         See Armstead v. Scott, 37 F.3d

202, 206 (5th Cir. 1994).      Under the first prong of the

Strickland test, if a defendant is represented by counsel during

the plea process and enters his plea upon the advice of counsel,

“the voluntariness of the plea depends on whether counsel’s

advice was within the range of competence demanded of attorneys

in criminal cases.”    Hill, 474 U.S. at 56 (internal quotations

omitted).   To meet the prejudice prong, a petitioner must

establish that but for his counsel’s allegedly erroneous advice,

he would not have pleaded guilty but would have insisted on going

to trial.    Id. at 59; see also Armstead, 37 F.3d at 206 (citing

Carter v. Collins, 918 F.2d 1198, 1200 (5th Cir. 1990)).

     1.     Waiver of Appeal

     A waiver of appeal “may not be enforced against a [§] 2255

petitioner who claims that ineffective assistance of counsel


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rendered that waiver unknowing or involuntary.”          United States v.

White, 307 F.3d 336, 341 (5th Cir. 2002).        “An ineffective

assistance of counsel claim survives a waiver of appeal only when

the claimed assistance directly affected the validity of that

waiver or the plea itself.”     White, 307 F.3d at 343. .

     To the extent that Prewitt argues that he received

ineffective assistance of counsel, the record does not support

his claim.   See, e.g., United States v. Flores, 135 F.3d 1000,

1002 (5th Cir.1998) (affirming dismissal of § 2255 motion based

on allegations that were “fatally conclusory and without merit”).

As stated previously, Prewitt knowingly and voluntarily waived

his appeal rights: Prewitt admits that he read and signed the

written agreement stating that he was waiving any right to appeal

or collaterally attack his conviction and sentence in “any

post-conviction proceeding, including but not limited to a

proceeding under [§ 2255].”     (Rearr. Tr., at 15-17.)        Prewitt did

so under oath on two different occasions.        The first admission

was in Prewitt’s rearraignment proceeding just after the

Government had summarized Prewitt’s plea agreement in open court

and submitted the agreement to the Court:

     COURT: Mr. Prewitt, do you understand what the United
     States attorney and your attorney have just outlined
     for me?

     DEFENDANT PREWITT: Yes, your honor.

     COURT: Is your understanding of the plea agreement the
     same as what they told me?

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     DEFENDANT PREWITT: Yes, your honor.

(Rearr. Tr., at 14.)    Prewitt then verified for the Court that he

had reviewed the plea agreement with his lawyer and that the no

side agreements existed between himself and the Government.             Id.

     COURT: Have you gone over the agreement with your lawyer?

     DEFENDANT PREWITT: Yes, your honor.

     COURT: Have you signed the agreement?

     DEFENDANT PREWITT: Yes, your honor.

     COURT: Are there any agreements between you and the government
     concerning your plea other than what’s in the plea agreement?

     DEFENDANT PREWITT: No, your honor.


(Rearr. Tr., at 12, 16.)      Prewitt also testified that he was

satisfied with the advice and services of his lawyer.           (Rearr.

Tr., at 18.)   Prewitt stated:

     THE COURT: Have you had sufficient time to discuss your case
     with your lawyer?

     DEFENDANT PREWITT: Yes, your honor.

     THE COURT: Are you entirely satisfied with the advice and
     services your lawyer has given you?

     DEFENDANT PREWITT: Yes, your honor.

(Rearr. Tr., at 18.)    The second occasion was at Prewitt’s

sentencing:

     COURT: Mr. Prewitt, in your plea agreement, you have
     agreed to waive your right to appeal your sentence
     unless it was above the statutory maximum . . . .
     Because the sentence I imposed is . . . a downward
     departure from the guideline range, you have no right
     to appeal your sentence on any grounds other than

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     ineffective assistance of counsel.       Do you understand
     that, sir?

     DEFENDANT PREWITT: Yes, ma’am.


(Sent. Tr., at 8, 9.)    These admissions refute Prewitt’s claim

that he did not understand the effect of his waiver of appeal.

Thus, even if Prewitt’s attorney did not fully advise Prewitt of

his appeal rights, the record demonstrates that Prewitt

understood that he had a right to appeal his sentence, and that

he forfeited that right by accepting the plea agreement offered

to him by the Government.     Id. at 1006; see also De Cay, 2009 at

*10 (“[T]he relief sought by [the defendant] would render the

Rule 11 colloquy, and perhaps the entire plea process, irrelevant

if a defendant who has pleaded guilty and is not satisfied with

his sentence can simply claim that his attorney did not ‘go over

[the] plea agreement ... line by line, paragraph by paragraph, or

even page by page” to defeat his appeal waiver based on his

subjective and self-serving lack of understanding of the

waiver.’”)   Because Prewitt knowing and voluntarily agreed to

waive his right to appeal, and admitted that he did so, Prewitt’s

ineffective assistance of counsel argument does not meet the

prejudice prong of Strickland.     See United States v. White, 307

F.3d 336, 341 (5th Cir. 2002)(explaining that when a plea is

knowing and voluntary, there is “no need to except ineffective

assistance of counsel claims from the general rule allowing


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defendants to waive their statutory rights so that they can reach

a plea agreement”).

        2.   Plea Agreement

        Prewitt nevertheless contends that his plea also was tainted

by ineffective assistance of counsel.        (R. Doc. 253.)      He asserts

that his counsel failed to explain the nature of the charge and

the consequences of his plea.     Id.   Specifically, Prewitt argues

that his counsel did not inform him that he was “pleading to all

the relevant conduct of [his] co-defendants.”         Accordingly, the

Court will consider whether Prewitt received ineffective

assistance of counsel with respect to his plea.          Id.

        First, Prewitt has not shown that his counsel’s performance

in counseling him to accept a plea agreement was deficient.              The

record belies any claim that Prewitt’s counsel pressured him to

accept the plea agreement.     Prewitt responded negatively when

asked at his re-arraignment whether he had been threatened to

make the agreement, and he repeatedly affirmed that he was

pleading guilty voluntarily.     (Rearr. Tr. at 18-20.)         Moreover,

Prewitt has produced no evidence that would refute his own sworn

testimony that he was pleading guilty voluntarily.            (R. Doc.

253.)

        Second, that Prewitt’s counsel successfully negotiated a

plea agreement under which Prewitt received substantial benefits

indicates that his counsel’s performance was not deficient.              As a


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result of the plea agreement, the Government dropped Count 7 of

the indictment, agreed not to charge Prewitt with any violations

of the federal controlled substances act that he may have

committed before February 19, 2007, and also stipulated that

Prewitt had timely accepted responsibility and was entitled to a

three point reduction in offense level under the sentencing

guidelines.   (R. Doc. 80.)    Also as a result of Prewitt’s plea

agreement, the Government stipulated, for sentencing purposes,

that the amount of cocaine Prewitt distributed or possessed was

less than the total obtained and distributed by the conspiracy

with which he was involved.     Moreover, Prewitt chose to cooperate

with the Government in its ongoing investigation into his co-

conspirators activities when he signed his plea agreement.             As a

result, the Government agreed to bring to the Court’s attention

any cooperation Prewitt rendered that amounted to substantial

assistance under Section 5K1.1 of the sentencing guidelines.             The

Government later did so by moving the Court for a downward

departure from Prewitt’s recommended guidelines sentence.            Unless

acquitted at trial, Prewitt’s cooperation and the Government’s

departure motion were the only way in which Prewitt’s sentence

could have been reduced below the mandatory minimum sentence of

20 years.   In return for these benefits, and to avoid the

substantial risk that he would be convicted on charges that would

subject him to a potential life sentence, Prewitt agreed, among


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other things, to plead guilty to Count One of the indictment, the

bill of information, and to waive his right to appeal his

sentence.    Prewitt also cooperated with the Government.          When the

Court granted the Government’s departure motion, it imposed a

sentence below the sentence recommended by the Government.             The

Court is unable to say that counseling Prewitt to accept this

plea agreement falls outside the range of competence required of

a defense attorney under the deferential Strickland standard.

See Gilliard v. Scroggy, 847 F.2d 1141, 1145 (5th Cir.

1988)(advice to plead guilty was not deficient under Strickland

standard).

     Further, the Court finds no evidence to support Prewitt’s

assertion that he received ineffective assistance of counsel

because his counsel did not ensure that he understood that he was

“pleading to all the relevant conduct of [his] co-defendants.”

(R. Doc. 253.)   As a threshold matter, Prewitt was not held

accountable for all the acts of his co-defendants.            Even though

Prewitt admitted to participating in the conspiracy, the

Government did not charge him with distributing or possessing the

entire amount of cocaine and marijuana involved in the

conspiracy.   As previously noted, the Government agreed to lessen

the charge against Prewitt for sentencing purposes.           In fact,

Prewitt’s counsel references this agreement when she argued for

leniency at his sentencing.     (Sent. Tr., at 5.)(arguing that


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Prewitt “was not at the top of this food chain.”).            Prewitt also

confirmed during his re-arraignment that he understood the nature

of the crime for which he was pleading guilty.         (Rear. Tr., at

9.)   Evan assuming, arguendo, that Prewitt did not know that a

participant in a conspiracy can be convicted for the acts of his

co-conspirators, see Pinkerton v. United States, 328 U.S. 640,

647 (1943), Prewitt clearly understood the consequences of his

plea.    At the rearraignment proceeding, the Court informed

Prewitt that he faced a statutory maximum sentence of life and a

mandatory minimum of twenty years.      (Rearr. Tr., at 4-6.)

Prewitt stated that he understood that the Court would decide

what sentence to impose if the Court accepted the plea agreement

and that the sentence would be based on any applicable mandatory

minimum and the Court’s analysis of the sentencing guidelines and

other applicable statutory factors. (Rear. Tr., at 6, 14.)

Prewitt’s counsel affirmed that she had not made any

representations as to what sentence the Court would actually

impose, other than to explain the mandatory minimum sentence.

(Rear. Tr., at 15.)    The record therefore rebuts Prewitt’s

unsupported assertions that his counsel’s performance was

defective with respect to her advice regarding the plea

agreement.

        Prewitt has also not met the prejudice prong of Strickland

because he has not shown that, but for his counsel’s allegedly


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erroneous advice, he would not have pleaded guilty.           Whether a

petitioner is able to argue persuasively that he was prejudiced

by erroneous advice depends partly on his chances for success at

trial.   See Magnum v. Hargett, 67 F.3d 80, 84 (5th Cir. 1995);

Armstead, 37 F.3d at 210-11 (noting that strong evidence of

defendant’s guilt and longer potential sentence if convicted

refuted defendant’s assertion that but for counsel’s advice, he

would have rejected the plea bargain).       Furthermore, by pleading

guilty instead of proceeding to trial, Prewitt avoided a

substantial risk that he would be convicted of a charge that

carried a mandatory life sentence.      Moreover, as a result of

Prewitt’s plea agreement and the substantial assistance he

rendered to the Government with its ongoing investigation, the

Government asked the Court for a downward departure in sentencing

Prewitt, and the court departed below the amount asked for by the

Government.    Prewitt has produced no evidence, and the Court

finds it unlikely that, under the circumstances, i.e., the

favorable, negotiated plea, the evidence the government had

against Prewitt, the possibility the Government might ask the

Court to downward depart in sentencing Prewitt, and the potential

consequences of proceeding to trial, Prewitt would have decided

to proceed to trial but for the allegedly erroneous advice he

received.     See Magnum, 67 F.3d at 86.     Prewitt has therefore

failed to demonstrate either deficient performance or prejudice,


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and his claim that his counsel rendered ineffective assistance

that invalidates his plea must fail.

D.      REASONABLENESS OF SENTENCE

        Prewitt waived the right to appeal the reasonableness of his

sentence in a collateral proceeding.          His motion to vacate,

correct, or set aside his sentence due to its unreasonableness is

therefore DENIED.



III. CONCLUSION

        For the foregoing reasons, the Court DENIES Prewitt’s motion

to vacate, set aside, or correct his sentence under 28 U.S.C. §

2255.



                                      1st day of April, 2010.
         New Orleans, Louisiana, this ___



                   _________________________________

                              SARAH S. VANCE

                     UNITED STATES DISTRICT JUDGE




                                     22
